                                        Case 3:25-cv-01892-PHK         Document 1        Filed 02/21/25   Page 1 of 24



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                                  15

                                  16                               UNITED STATES DISTRICT COURT
                                                             FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                  17

                                  18    RYAN KELLER, individually and on behalf of
                                        his business, KELLER HOLDINGS LLC
                                  19    (DBA SecureSight), and on behalf of all others
                                        similarly situated,
                                  20                                                      No.
                                                Plaintiff,
                                  21                                                      CLASS ACTION COMPLAINT
                                        v.
                                  22                                                      JURY TRIAL DEMANDED
                                        AUTOMATTIC INC., a Delaware corporation,
                                  23    and MATTHEW CHARLES MULLENWEG,
                                        an individual,
                                  24
                                                Defendants.
                                  25

                                  26

                                  27

                                  28
                                       Class Action Complaint                                                            1
                                         Case 3:25-cv-01892-PHK           Document 1        Filed 02/21/25      Page 2 of 24



                                   1          Plaintiff Ryan Keller (“Plaintiff”), on behalf of his business, Keller Holdings LLC, and on

                                   2   behalf of all others similarly situated, by and through counsel, bring this action against Automattic

                                   3   Inc., (“Automattic”) and Matthew Charles Mullenweg (“Mullenweg”) (collectively “Defendants”).

                                   4   Plaintiff’s allegations herein are based upon personal knowledge as to his own acts, and based upon

                                   5   his investigation, his counsel’s investigation, and information and belief as to all other matters.

                                   6                                       SUMMARY OF ACTION

                                   7          1.      This case involves Defendants deliberately abusing their power and control over the

                                   8   WordPress ecosystem to purposefully, deliberately, and repeatedly disrupt contracts between

                                   9   Plaintiff and the putative class and the third-party business WPEngine Incorporated (“WPEngine”
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                                  10   or “WPE”). Seeking to injure WPE and resolve a purported dispute between Defendants and WPE,
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                                  11   Defendants intentionally sabotaged WPE’s ability to provide its contractual services to customers,
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                                  12   and indeed they have publicly and repeatedly bragged about how their interference has so degraded

                                  13   WPE’s services that they are causing customers, like Plaintiff, to no longer be able to use WPE.

                                  14   Defendants’ interference has sent shockwaves throughout the global WordPress ecosystem and has

                                  15   harmed hundreds of thousands of businesses and individuals who use WPEngine services, including

                                  16   Plaintiff and the Class.1

                                  17          2.      Understanding the nature of the WordPress open-source software and the

                                  18   relationship between Plaintiff, WPE, and Defendants is critical to evaluating the merits of this

                                  19   action. WordPress is a massively successful free open-source web content management system,

                                  20   which allows individuals and businesses to create and build their own websites. WordPress

                                  21   maintains at least 54,000 plugins (“Plugins”), 11,000 themes, and unlimited layout customization

                                  22   options, which allow website developers and operators significant freedom of choice and

                                  23   customization when building and operating a website.2 A significant proportion, by some estimates

                                  24
                                       1 For example, Defendants’ have maintained a website, WP Engine Tracker, to publicly show how
                                  25
                                       many WPEngine customers have left WPEngine since Defendants’ started engaged in their conduct.
                                  26   See https://wordpressenginetracker.com/ (last accessed, February 14, 2025).
                                       2 See https://barn2.com/blog/wordpress-market-share . (last accessed February 14, 2025). As noted
                                  27   below, WordPress’s own statements show they maintain at least 54,000 plugins while the foregoing
                                  28   article quotes a higher figure.
                                       Class Action Complaint                                                                       2
                                         Case 3:25-cv-01892-PHK             Document 1     Filed 02/21/25      Page 3 of 24



                                   1   more than 40%, of all websites globally operate using the free open-source WordPress software.3

                                   2   WordPress software has long been promised to be free and available to everyone forever.

                                   3           3.     One of the reasons for the massive success of WordPress has been the WordPress

                                   4   community, which consists of, among others, volunteers worldwide who are constantly creating,

                                   5   maintaining, and updating WordPress software and fixing security issues, as well as developing

                                   6   and updating innumerable tools, some known as Plugins,4 to aid website developers with building

                                   7   and updating numerous aspects of their websites. The WordPress Plugins and software that website

                                   8   developers and operators rely on to build and allow their websites to continue to function are

                                   9   automatically updated from a central repository at the WordPress.org website. The use of the
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                                  10   WordPress.org website as the central repository for these tens of thousands of Plugins, tools, and
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                                  11   themes, including continuous updates of those Plugins, tools, and themes, is hard-coded into the
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                                  12   WordPress core open-source software. In other words, when a developer uses WordPress source

                                  13   code, Plugins, or other tools, updates are automatically applied to those features for all users when

                                  14   the central repository is updated.

                                  15           4.     The WordPress source code was originally owned and/or controlled by Defendant

                                  16   Mullenweg’s for-profit company, Defendant Automattic. However, in 2010, Defendants

                                  17   represented that the source code would be transferred to the nonprofit WordPress Foundation

                                  18   (created by Mullenweg), which would ensure free and open access for all. Prior to September 2024,

                                  19   it was widely understood that the WordPress.org website was controlled by the non-profit

                                  20   WordPress Foundation. However, Mullenweg has recently claimed that the WordPress.org website

                                  21   is his own personal website which he can exclusively control as he sees fit.5

                                  22

                                  23
                                       3 Id.
                                  24   4 Per WordPress, a Plugin is a package of code that extends the core functionality of WordPress.

                                  25   Plugins        extend         the       functionality        of         a       website.        See
                                       https://developer.wordpress.org/plugins/intro/what-is-a-plugin/ (last accessed February 14, 2025).
                                  26   For example, a Plugin could be used to automatically display links to the top ten most recent posts
                                       on a website or allow individuals to book appointments online.
                                  27   5 According to reports, Automattic has an entire division dedicated to the wordpress.org website. It

                                  28   is unclear who funds wordpress.org’s infrastructure.
                                       Class Action Complaint                                                                         3
                                         Case 3:25-cv-01892-PHK          Document 1        Filed 02/21/25     Page 4 of 24



                                   1          5.      Creating a website from scratch using WordPress software can be time consuming

                                   2   and requires technical skill. This means that the average individual or business owner may not have

                                   3   the time or know-how to use, or learn how to use, WordPress software. As a result, numerous for-

                                   4   profit companies now offer web hosting platforms for WordPress. These companies offer tools that

                                   5   streamline and help manage the process of building or maintaining a website built with WordPress

                                   6   software for businesses and individuals who wish to create websites, such as Plaintiff. Some of

                                   7   these WordPress platform-hosting companies, such as WordPress.com and Pressable, are owned or

                                   8   controlled by Defendants Mullenweg and Automattic, while others, such as WPE, are independent.

                                   9          6.      In September 2024 Defendants engaged in a self-described campaign of “nuclear
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                                  10   war” against WPE, while ignoring the very real collateral damage that would ensue, due to a
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                                  11   purported trademark dispute (which WPE claims was actually attempted extortion).6 As part of this
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                                  12   campaign of “nuclear war,” Defendants blocked WPE’s access to the WordPress.org repository

                                  13   including software updates and patches, security updates, and Plugins7 starting at least as early as

                                  14   September 24, 2024. This action was temporarily rescinded to allow WPE to mirror certain data on

                                  15   the WordPress.org website on September 28, 2024, following which Defendants permanently

                                  16   blocked access again three days later. Plaintiff is not aware of any remotely comparable event where

                                  17   access to critical WordPress.org repository information was permanently blocked.

                                  18          7.      Plaintiff and the class have suffered harm as a result of WPE’s inability to access

                                  19   the repository. WordPress software is hard-coded to draw exclusively upon the WordPress.org

                                  20   repository for auto-updates, and use of WordPress.org is crucial for the efficient and effective use

                                  21   of the Plugins, updates, and patches needed for effective website creation, development, and

                                  22   maintenance for websites built using WordPress software, code, and tools. Although some partial

                                  23
                                       6 As reported, “When WPE did not capitulate, Defendants carried out their threats, unleashing a self-
                                  24
                                       described ‘nuclear’ war against WPE.” See https://www.cio.com/article/3545272/things-get-nasty-
                                  25   in-lawsuit-between-wordpress-org-and-wp-engine.html (last accessed February 14, 2025).
                                       7 Although Defendants are now claiming that the blocked access was a result of WPE suing

                                  26   Defendants, this is not true. Defendants blocked access after receiving a cease-and-desist letter from
                                       WPE (which was sent as a result of numerous documented threats by Defendants officers, including
                                  27   Mullenweg, and numerous public attacks against WP Engine). There was no active litigation at the
                                  28   time Defendants blocked WPE services.
                                       Class Action Complaint                                                                             4
                                         Case 3:25-cv-01892-PHK          Document 1       Filed 02/21/25      Page 5 of 24



                                   1   workarounds exist, they are time consuming and require high levels of expertise to implement,

                                   2   which is precisely what Plaintiff sought to avoid when he purchased WPE hosting services in the

                                   3   first place.

                                   4           8.     Defendants have no justifiable reason for interfering in the contracts between

                                   5   Plaintiff and WPE, and indeed they are actively seeking to capitalize on the disruption they

                                   6   themselves caused. Both WordPress.com and Pressable, web-hosting platforms owned by

                                   7   Defendants which compete with WPE, have been running major advertising campaigns offering to

                                   8   buy out WPE customers including advertising that their products have better “performance,

                                   9   security, and support.” These advertising campaigns started immediately after Defendants blocked
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                                  10   WordPress.org services from WPE, which caused decreased performance of WPE customer
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                                  11   websites, security issues due to no longer having access to the central repository, and limited the
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                                  12   website support that WPE could offer its customers due to being cut off from the central repository.

                                  13   Indeed, these advertising campaigns seeking to capitalize on Defendants’ deliberate disruption of

                                  14   WPE services are ongoing.8

                                  15           9.     Moreover, Defendants have utilized their position and access to WordPress core

                                  16   systems to publish a list of WPE customers and their websites, including websites owned by

                                  17   Plaintiff, in an effort to pressure website owners to cease using WPE services. On December 10,

                                  18   2024, a district court issued an injunction ordering Defendants to take down this list of websites,

                                  19   including those of Plaintiff. See Case No. 24-cv-06917-AMO Dkt. No. 17.

                                  20           10.    In addition to deliberately disrupting WPE’s services and contracts with clients,

                                  21   including Plaintiff, Defendants, and in particular Mullenweg, have made numerous public

                                  22   statements disparaging WPE and attempting to influence individuals to not contract to use WPE’s

                                  23   services. For example, in an October 2, 2024 X post, Mullenweg called WPE a “distressed asset”

                                  24   and conversed with a potential WPE customer and attempted to dissuade the customer from using

                                  25   WPE. Case No. 24-cv-06917-AMO Dkt. No. 64 at 18.

                                  26

                                  27
                                       8 See https://pressable.com/wpe-contract-buyout/ (Last Accessed February 14, 2025).
                                  28
                                       Class Action Complaint                                                                          5
                                         Case 3:25-cv-01892-PHK          Document 1       Filed 02/21/25     Page 6 of 24



                                   1          11.     As a result of Defendants deliberate tortious interference and unfair competition,

                                   2   Plaintiff faces an impossible situation where he must either accept a fundamentally degraded and

                                   3   less stable service from WPE than originally agreed or must take considerable time, effort, and

                                   4   expense to migrate his websites to a new web platform. Plaintiff and the putative class were harmed

                                   5   when their contracts were disrupted and the increased instability and perceived risk of using WPE

                                   6   has decreased the value of services paid for.

                                   7          12.     Plaintiff, individually and on behalf of a nationwide class, alleges claims of (1)

                                   8   Intentional Interference with Contractual Relations (2) Intentional Interference with Prospective

                                   9   Economic Relations; and (3) violation of California’s Unfair Competition Law (Cal. Civ. Code §§
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                                  10   17200, et seq.).
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                                  11                                               PARTIES
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                                  12   Plaintiff

                                  13          13.     Plaintiff Ryan Konrad Keller is a citizen and resident of Broadview Heights, Ohio.

                                  14   He brings this action individually and on behalf of his company, Keller Holdings LLC, and on

                                  15   behalf of all others similarly situated. His small business uses WPEngine to create, maintain, and

                                  16   update his business website and it has been impacted by the WordPress service disruption. His

                                  17   business operates by creating websites for companies and individuals using WPEngine services.

                                  18   Defendants

                                  19          14.     Defendant Automattic is a Delaware Corporate with its principal place of business

                                  20   in San Francisco, California. Automattic owns and operates several for-profit businesses in the

                                  21   WordPress ecosystem including WordPress.com, WordPress VIP, and Pressble.com, as well as

                                  22   WooCommerce, Inc. (an ecommerce tool).

                                  23          15.     Defendant Matthew Charles Mullenweg is also the CEO and President of

                                  24   Automattic and purports to own a controlling share of the Automattic (84%).9 Mullenweg has

                                  25   substantial contacts in California due to being CEO and President of Automattic and the founding

                                  26   director of the WordPress Foundation, a California nonprofit public benefit corporation.

                                  27   9 See https://techcrunch.com/2024/10/30/matt-mullenweg-talks-about-automattics-staffing-issues-

                                  28   and-financials-at-techcrunch-disrupt/?guccounter=1 (Last Accessed February 14, 2025).
                                       Class Action Complaint                                                                         6
                                         Case 3:25-cv-01892-PHK            Document 1      Filed 02/21/25      Page 7 of 24



                                   1           16.     At all relevant times, except as may be otherwise indicated, Defendants and

                                   2   Automattic were jointly engaged in the wrongful acts alleged herein. Defendant Mullenweg was

                                   3   acting wrongfully on behalf of his company and in order to enrich himself, and Automattic was

                                   4   acting at his direction and for his benefit. Both parties jointly engaged in the wrongful acts alleged

                                   5   and are jointly liable.

                                   6                                     JURISDICTION AND VENUE

                                   7           17.     This Court has subject matter jurisdiction and diversity jurisdiction over this action

                                   8   under the Class Action Fairness Act, 28 U.S.C. § 1332(d)(2). The amount in controversy exceeds

                                   9   $5 million, exclusive of interest and costs. The class contains more than 100 members (indeed, it
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                                  10   contains at least tens of thousands of members), and many of these members, including Plaintiff,
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                                  11   have citizenship diverse from Defendants. This Court also has supplemental jurisdiction pursuant
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                                  12   to 28 U.S.C. § 1367(a) because all claims alleged herein form part of the case in controversy.

                                  13           18.     The exercise of personal jurisdiction over Defendants is appropriate. Jurisdiction

                                  14   over Defendant Automattic is appropriate because Automattic has its principal place of business

                                  15   within this district, regularly conducts business in this district, and the claims at issue arise in

                                  16   substantial part out of its activities in this district. Jurisdiction over Defendant Mullenweg is

                                  17   appropriate because he is the CEO and President of Automattic, which is based in this District.

                                  18           19.     Venue is proper in this District under 28 U.S.C. §§ 1391(b)(2), and 1391(c)(1) and

                                  19   (2) because Defendant Automattic resides in this district and Defendant Mullenweg has substantial

                                  20   and routine relevant contacts in this district.

                                  21           20.     Divisional Assignment: This action arises in the City and County of San Francisco,

                                  22   in that a substantial part of the events that give rise to the claims asserted herein occurred in the

                                  23   City and County of San Francisco, where Defendants reside. Pursuant to L.R. 3-2(d), all civil

                                  24   actions that arise in San Francisco shall be assigned to the San Francisco or Oakland Division.

                                  25

                                  26

                                  27

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                                       Class Action Complaint                                                                            7
                                         Case 3:25-cv-01892-PHK            Document 1       Filed 02/21/25      Page 8 of 24



                                   1                                      FACTUAL ALLEGATIONS

                                   2      I.         Background – The WordPress Ecosystem

                                   3           21.      WordPress is a major pillar of the internet. Its open-source free software is at the

                                   4   core of millions of websites worldwide.

                                   5           22.      The WordPress open-source code is theoretically administered by the WordPress

                                   6   Foundation. The Foundation is a nonprofit organization charged with maintaining the WordPress

                                   7   code and ecosystem. According to its website, “[t]he point of the foundation is to ensure free access,

                                   8   in perpetuity, to the software projects we support.”10

                                   9           23.      Due to its promise of free access for everyone in perpetuity and opensource ideals
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                                  10   and transparency, WordPress has exploded in popularity. Since its founding in 2010 it has grown
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                                  11   to encompass, by its own estimates, more than 40% of all websites in the world.
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                                  12           24.      One of the greatest attractions of the WordPress is the WordPress “ecosystem.”

                                  13   Because WordPress is free and open source, it has attracted innumerable programmers and

                                  14   engineers who combine efforts to improve or utilize the service. As a result, WordPress boasts that

                                  15   it has over 54,000 freely available Plugins available for use in its repository.11

                                  16           25.      Due to the huge number of freely available Plugins in the WordPress repository,

                                  17   websites run using WordPress Plugins and code are highly customizable with various tools that

                                  18   serve different purposes depending on individual need. Free access to these tens of thousands of

                                  19   tools is a major element of the attraction to WordPress software and a major element of its staying

                                  20   power. Moreover, Plugins not only enable enhanced website functionality and capacity, they are

                                  21   essential for website administration, security, and updates.

                                  22           26.      The WordPress source code and repository is stored on the WordPress.org website.

                                  23   Plugins are stored, categorized, and reviewed in the repository, and the core WordPress software

                                  24   includes more than 1,500 call backs to the WordPress.org website for functionality, updates, and

                                  25   patches. Access to WordPress.org is essential for the use of WordPress software and the efficient

                                  26

                                  27   10 https://wordpressfoundation.org/ (Last Accessed February 14, 2025).
                                       11 https://wordpressfoundation.org/projects/ (Last Accessed February 14, 2025).
                                  28
                                       Class Action Complaint                                                                            8
                                         Case 3:25-cv-01892-PHK           Document 1       Filed 02/21/25     Page 9 of 24



                                   1   and effective use of the Plugins, updates, and patches needed for effective website creation and

                                   2   development in the WordPress ecosystem.

                                   3           27.     For years it was widely understood that WordPress.org was controlled by the

                                   4   WordPress Foundation. However, Mullenweg recently revealed that he controls WordPress.org as

                                   5   his own personal website.12 This alarmed many WordPress contributors who believed they were

                                   6   aiding the non-profit WordPress Foundation, not donating substantial time, effort, and resources to

                                   7   Mullenweg’s personal website.

                                   8           28.     Defendant Matt Mullenweg was a founder of WordPress and created the WordPress

                                   9   foundation in 2010. Mullenweg split the nonprofit WordPress Foundation from his for-profit
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                                  10   company, Automattic.
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                                  11           29.     Although Mullenweg claimed to have given the WordPress trademark to the
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                                  12   WordPress foundation, he now purports to have retained for himself and Automattic exclusive,

                                  13   irrevocable, and perpetual rights to the WordPress commercial trademark. He also apparently

                                  14   claims to have reserved personal individual control over the WordPress.org website (including the

                                  15   vital repository), for himself.

                                  16           30.     Creating a website from scratch can be difficult. As a result, a number of companies

                                  17   offer “managed website hosting” where they will create a website framework and management

                                  18   structure that makes it easier for developers and customers to create and control websites within a

                                  19   particular web-ecosystem.

                                  20           31.     WPE is a managed website-hosting company that hosts and manages websites for

                                  21   customers utilizing WordPress software, including its Plugins. In this respect it is a direct

                                  22   competitor to Mullenweg and Automattic, who own competing managed website hosting services

                                  23   such as WordPress.com, and Pressable. WPE has grown significantly in the past several years and

                                  24   has a substantial customer base. WPE’s customer base ranges from small businesses and individuals

                                  25   to major companies such as Yelp, Thompson-Reuters, and Dropbox.

                                  26

                                  27   12 See https://www.theverge.com/2024/10/4/24262232/matt-mullenweg-wordpress-org-wp-engine

                                  28   (last accessed February 14, 2025).
                                       Class Action Complaint                                                                          9
                                        Case 3:25-cv-01892-PHK               Document 1      Filed 02/21/25      Page 10 of 24



                                   1            32.      Plaintiff is in the business of creating websites for paying customers. Plaintiff is a

                                   2   long-time WPE customer who has used WPE for more than a decade to manage and build websites

                                   3   for his clients, as well as for his own business website. Prior to September 2024, Plaintiff had no

                                   4   complaints about WPE and intended to continue to use WPE in both a personal and professional

                                   5   capacity for the indefinite future.

                                   6      II.         The Dispute Between Automattic and WP Engine

                                   7            33.      Starting or around September 20, 2024, Defendants initiated a highly public and

                                   8   vocal dispute with WPE. While Defendants claim the origins of the conflict lies in a trademark

                                   9   dispute concerning whether the name “WPEngine” violates the WordPress commercial trademark
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                                  10   owned by Automattic, WPE contends that Defendants’ actions were a poorly disguised attempt to
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                                  11   extort WPE out of tens of millions of dollars against the threat of making it virtually impossible for
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                                  12   WPE (and its customers) to conduct its ordinary business.

                                  13            34.      The dispute first became public when Mullenweg publicly excoriated WPE at a

                                  14   WordPress keynote address on September 20, 2024 (as he had promised to do in threatening texts

                                  15   to WPE employees and officers).13 After WPE sent a cease-and-desist letter to Automattic on

                                  16   September 23, 2024, Automattic and Mullenweg almost immediately blocked WPE from accessing

                                  17   WordPress.org resources (on September 24, 2024). Plaintiff has found no other instance when

                                  18   WordPress blocked a major webhost from accessing its resources, which they had long promised

                                  19   would be free and available to everyone forever.

                                  20            35.      Defendants’ actions had an immediate and severe impact on WPE customers. These

                                  21   customers, including Plaintiff, were unable to install or update Plugins or themes and had limited

                                  22   administrative access to the websites they operated, as well as limited access to software updates,

                                  23   editing tools, and access control because these features were all tied to the WordPress central

                                  24   repository.14 This not only crippled website owners’ ability to control and modify their websites in

                                  25
                                       13 See https://www.therepository.email/mullenweg-threatens-corporate-takeover-of-wp-engine (last

                                  26   accessed February 14, 2025).
                                       14 Websites typically have two components, a “frontend” and “backend”. The frontend is what
                                  27   users accessing a website see, such as the visual elements like buttons, checkboxes, graphics, and
                                  28
                                       Class Action Complaint                                                                             10
                                        Case 3:25-cv-01892-PHK          Document 1           Filed 02/21/25   Page 11 of 24



                                   1   a managed environment, as they had paid WPE for, but also created a significant security risk, as

                                   2   security vulnerabilities may not be left unpatched.

                                   3          36.     WPE customers, including Plaintiff, suffered from substantially degraded website

                                   4   performance for several days. All WPE customers are party to a Service Level Agreement (SLA)

                                   5   which promises a certain level of website uptime. The multiple days of severely degraded services

                                   6   substantially exceeded the permissible SLA allowed by contract.

                                   7          37.     Almost immediately after Defendants blocked WP Engine, Defendants’ companies,

                                   8   such as Pressable, began an advertising campaign aimed at stoking customer backlash in an attempt

                                   9   to convince customers to break their contracts with WPE.
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                                  10          38.     Defendants temporarily lifted the ban on WP Engine for three days (between
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                                  11   September 27 and 30), to allow WP Engine to make a mirror of some of the WordPress plugins and
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                                  12   code, but they quickly shut off access again on October 1, 2024.

                                  13          39.     While WPE was able to mirror many parts of the Original WordPress.org system

                                  14   based on information gathered in those three days, the mirrored servers could not provide service

                                  15   equivalent to the standard that existed prior to September 24, 2024. The hard-coded references to

                                  16   WordPress.org in core WordPress code and lack of access to the automatically updated plugins

                                  17   repository, for example, meant the work-around was both difficult to implement and provided

                                  18   degraded services compared with the originally contracted services.

                                  19          40.     While Defendants claim that their decision to block access by Plaintiff and Class

                                  20   Members was a typical cessation of business relationships during ongoing litigation, it was anything

                                  21   but. WPE has produced voluminous evidence that the so-called trademark dispute is a mere pretext

                                  22   to sabotage WPE’s services and relationship with its customers. This evidence includes, but is not

                                  23   limited to, numerous text messages from Mullenweg threatening WPE if it refused to pay at least

                                  24   8% of their revenue to Automattic, Mullenweg’s for-profit company, including threatening a

                                  25   “nuclear war” if his demands were not met; statements from Mullenweg indicating the fees he

                                  26   sought were based on what he thought WPE could afford, rather than what the value of the

                                  27   text messages. The backend is the data and infrastructure that make the website function. It
                                  28   includes the source code for the website, and relevant here, plugins.
                                       Class Action Complaint                                                                         11
                                        Case 3:25-cv-01892-PHK            Document 1        Filed 02/21/25    Page 12 of 24



                                   1   trademark actually was; WPE’s own longstanding use of the “WP” nomenclature, which was

                                   2   expressly permitted on the WordPress foundation website;15 and engaging in unprecedented and

                                   3   malicious conduct utterly unrelated to the trademark dispute, such as seizing control of the popular

                                   4   ACF (Alternate Custom Fields) Plugin.16

                                   5          41.       In any event, Defendants’ actions knowingly and intentionally caused harm to

                                   6   Plaintiff and Class Members. Between September 24-27, 2024 and October 1, 2024 and December

                                   7   10, 2024 (when the District Court enjoined Defendants’ actions), Defendants engaged in a sustained

                                   8   and deliberate campaign to disrupt and inhibit the relationship between WPE and its customers. In

                                   9   addition to the crippling decision to shut down access to the core WordPress architecture (for
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                                  10   software expressly promised to be always free and available to everyone), Defendant:
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                                  11                •   added a checkbox to the WordPress.org website requiring someone to attest they
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                                  12                    were unaffiliated with WP Engine before they could access its resources;

                                  13                •   stole WPE’s most popular plugin and renamed the author to give themselves credit

                                  14                    for the product, repeatedly alluding that worse was to come for WPE and the

                                  15                    increased risk that this product would be unstable (and specifically that Defendants

                                  16                    would ensure it was less usable);

                                  17

                                  18
                                       15 Prior to the public dispute with WPE, WordPress advised on its website that “The abbreviation
                                  19   “WP” is not covered by the WordPress trademarks and you are free to use it in any way you see
                                       fit.” See Internet Archive at
                                  20
                                       (http://web.archive.org/web/20240912061820/https://wordpressfoundation.org/trademark-policy/).
                                  21   However, following the emergence of the dispute with WordPress, that same website now contains
                                       a new complaint about WPE, accusing them of making billions of dollars off the free WordPress
                                  22   software while not contributing back to the “community” sufficiently. See
                                       (https://wordpressfoundation.org/trademark-policy/) (Last Accessed February 14, 2025). While
                                  23   Defendants may be unhappy with the extent that WPE “contributes back” to software which was
                                  24   promised to be free and available to anyone, this is not a basis for a trademark dispute. There is no
                                       requirement to “give back” in order to use open-source software, and it is unclear why a statement
                                  25   about WPE’s alleged lack of donations and purported profitability is on the trademark policy
                                       webpage.
                                  26   16 Among other things, Mullenweg seized control over the popular ACF plugin relating to a

                                       purported security vulnerability. This has never been done for a major plugin before (ACF had
                                  27   more than 2 million downloads). Mullenweg/Automattic also changed the name of the plugin and
                                  28   changed the authorship from WPE to WordPress.org (Mullenweg’s personal website).
                                       Class Action Complaint                                                                           12
                                        Case 3:25-cv-01892-PHK            Document 1       Filed 02/21/25      Page 13 of 24



                                   1                •   sent emails to WPE customers attempting to poach them by claiming they could

                                   2                    restore access to the website if the WPE customer left WPE;

                                   3                •   created a website showing the entire WPE customer base designed to induce

                                   4                    customers to leave WPE;

                                   5                •   made public statements and threats towards WPE and its customers.

                                   6          42.       Defendants have made no secret that their intent is to induce Plaintiff and Class

                                   7   Members to leave WPE by degrading the services WPE provides to its paying customers. When

                                   8   Defendant Mullenweg was asked about WPE customers who were harmed because “all of those

                                   9   millions of websites that depend, that are still running on WPEngine because they cannot get
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                                  10   updates,” Mullenweg responded:
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                                              “Who pays any dollars to WordPress.org? [to the audience] No hands, right? There’s
                                  11          nothing to pay for, it’s all free. But people are paying 400 million dollars to WPEngine that
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                                  12          promises them security, updates, hosting, et cetera. So they were selling the free stuff on
                                              WordPress.org to their customers. And then when we turned them off, they got mad.”17
                                  13

                                  14          43.       As Mullenweg himself acknowledged, customers, including Plaintiff and Class

                                  15   Members, were paying WPE $400 million to manage the “free stuff” from WordPress.org including

                                  16   contractual promises of “security, updates, hosting, et. cetera.” By Mullenweg’s own admission, he

                                  17   turned off the services that WPE was selling to its customers, deliberately inhibiting the services

                                  18   and contracts between WPE and Plaintiff and Class Members.

                                  19          44.       Mullenweg’s statements in that interview are far from the only statements he has

                                  20   made. As the district court held in its order enjoining Defendants’ unlawful conduct: “Defendants’

                                  21   conduct is designed to induce breach or disruption. That is made explicit in at least the following

                                  22   posts and texts which state, in part:
                                                   • ‘I know that this is the nuclear option, it sets us down a specific path.’ Brunner
                                  23                  Dec. ¶ 28 & Ex. F.
                                  24                •   ‘If you’re saying ‘next week’ that’s saying ‘no,’ so I will proceed with the scorched
                                  25                    earth nuclear approach to [WPEngine].’ Id. ¶ 31 & Ex. F.

                                  26

                                  27
                                       17 https://www.youtube.com/watch?v=f15Xn23Mytg&t=3474s (last accessed February 14, 2025).
                                  28
                                       Class Action Complaint                                                                             13
                                        Case 3:25-cv-01892-PHK               Document 1       Filed 02/21/25      Page 14 of 24



                                                       •   ‘I don’t think they’re worth a fraction of that now. Customers are leaving in droves.
                                   1                       . . . It’s a distressed asset.’ Jenkins Decl. ¶ 11 & Ex. 10.
                                   2
                                                       •   “I suspect there are going to be millions of sites moving away from [the ACF
                                   3                       Plugin] in the coming weeks.” Id. ¶ 12 & Ex. 11.

                                   4                   •   “Hmm, I guess you’ll have to wait and see why people might not trust ACF as
                                                           much going forward.” Brunner Decl. ¶ 58 & Ex. I.”
                                   5

                                   6   Case No. 3:24-cv-06917-AMO (Dkt. 64 at 29:13-23).
                                   7             45.       There are voluminous statements in the public domain and in the district court’s
                                   8   record in the above-referenced case, which unambiguously demonstrate Defendants’ intent to
                                   9   disrupt the relationship between WPE, Plaintiff, and the putative class. Defendants’ intent to disrupt
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                                  10   the relationship between WPE, Plaintiff, and the putative class is further established by their
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                                  11   marketing, which deliberately targeted concerns about the WPE uncertainty that Defendants
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                                  12   themselves caused, and their public statements about how they were going to poach the harmed
                                  13   WPE customers.
                                  14             46.       Even if Defendants’ trademark case had merit (it likely does not), it does not excuse
                                  15   Defendants’ deliberate and vindictive targeting of Plaintiff and Class’s contracts with WPE.
                                  16   Defendants’ actions caused irreparable harm to WPEngine, Plaintiff, and the putative class.
                                  17   Moreover, Defendants’ deliberate withholding of open-source software pending a demand for tens
                                  18   of millions of dollars to be paid to their for-profit enterprise poses a grave danger to WordPress’s
                                  19   entire open-source ecosystem built on free exchange and access to information. Mullenweg profited
                                  20   greatly from the growth of open-source WordPress through his ownership of Automattic and
                                  21   WordPress.com. Withholding access to this open-source software pending personal payment to him
                                  22   and entities he controls is a betrayal of open-source principles and harms not just Plaintiff, Class
                                  23   Member, and WP Engine, but indeed for the entire internet as a whole.
                                  24      III.         Plaintiff’s Experiences
                                  25             47.       Defendants’ interference significantly impacted the business of Plaintiff Keller.
                                  26   While Plaintiff Keller was happy with WPE services and intended to continue using WPE services,
                                  27   the service disruption and degraded service, coupled with repeated public statements and threats
                                  28
                                       Class Action Complaint                                                                              14
                                        Case 3:25-cv-01892-PHK           Document 1        Filed 02/21/25      Page 15 of 24



                                   1   made by Defendants, led Plaintiff to explore moving his website and all those operated by his

                                   2   business to another managed web host.

                                   3          48.     Plaintiff’s livelihood revolves around building and operating websites, and

                                   4   significant disruptions will impact his business including his own capacity to fulfill his contractual

                                   5   obligations to his own clients.

                                   6          49.     Plaintiff Keller’s websites were significantly impacted by outages despite WPE’s

                                   7   attempts to create workarounds.

                                   8          50.     Plaintiff Keller has had to spend significant time and expense responding to the

                                   9   service disruptions and degradations, preparing for moving his and his clients’ websites to a new
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                                  10   host, and in investigating a new host environment after a long and successful prior partnership with
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                                  11   WPE. He is not alone in the harm he has suffered.
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                                  12          51.     Plaintiff Keller’s personal website was also significantly impacted. Access to the

                                  13   WordPress backend was available intermittently, and Plaintiff Keller received emails related to this

                                  14   downtime.

                                  15          52.     Plaintiff Keller pays WPE $3,300 per year for its “Scale Plan,” 2 additional websites,

                                  16   and GeoTargeting and Multi-Site services. Due to Defendants’ actions, Plaintiff Keller was unable

                                  17   to update his website in a standard marketing cycle adjustment. Plaintiff Keller had to spend time

                                  18   and expense to manage, update, and modify his website as a result of Defendants cutting off WPE

                                  19   from the WordPress ecosystem and therefore, did not receive the benefit of his bargain with WPE

                                  20   as Plaintiff Keller had to do the work that he pays WPE for.

                                  21          53.     During the course of the disruption (prior to the December 10 injunction), Plaintiff

                                  22   Keller maintained significant concerns that the inability to update Plugins and the intermittent

                                  23   disruptions to the website backend could create a security vulnerability that would damage his

                                  24   website, in addition to potentially harming those of his customers and his professional reputation.

                                  25          54.     If the district court had not issued its December 10 preliminary injunction, Plaintiff

                                  26   Keller would have had no choice but to move his websites away from WPEngine. Indeed, if the

                                  27

                                  28
                                       Class Action Complaint                                                                           15
                                        Case 3:25-cv-01892-PHK           Document 1        Filed 02/21/25      Page 16 of 24



                                   1   preliminary injunctive relief is not made permanent, Plaintiff Keller would move his services away

                                   2   from WPE to another web host.

                                   3          55.      Moving to another managed web host would require significant financial investment

                                   4   and risk. If he were forced to change hosts, there is a good possibility that functions on the 20 or so

                                   5   websites operated by Plaintiff, as well as Plaintiff’s own website, would break or that there would

                                   6   be additional downtime. There would be a serious risk that this could cause him to lose clients, and

                                   7   it would take major resources, including hours spent and money invested, to attempt to mitigate the

                                   8   risk of harm.

                                   9          56.      To the extent that there may be technical workarounds to mitigate the harm caused
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                                  10   by Defendants’ deliberate disruption and denial of services, this entirely misunderstands the
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                                  11   purpose for website management systems like WPEngine. Customers, like Plaintiff, purchase
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                                  12   managed web-hosting services from providers such as WPE in order to avoid having to spend

                                  13   significant time and effort working on manual updates and complex and difficult backend website

                                  14   construction and modification. Plaintiff and Class Members paid for the tools to make website

                                  15   construction, operation, and function efficient and effective. A workaround that requires as much

                                  16   or more work than operating the website without the managed web host to begin with is not an

                                  17   effective mitigation of harm; it is a breach of the fundamental purpose of the contract.

                                  18          57.      As Defendants have repeatedly stated, they anticipate many more people will be

                                  19   compelled to leave WPEngine as a result of their self-described campaign of “scorched earth

                                  20   nuclear war” against WPE. In Defendants’ self-proclaimed war, hurting innocent class members is

                                  21   not by accident; it is the intended result. Even customers who have stayed with WPE nevertheless

                                  22   suffered months of significantly degraded service worth far less than they paid for because of

                                  23   Defendant’s deliberate attempt to leverage their power and control over the WordPress ecosystem

                                  24   to cripple a competitor (and its customers) and redirect Plaintiff and Class Members to Defendants’

                                  25   own for-profit businesses.

                                  26

                                  27

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                                       Class Action Complaint                                                                            16
                                        Case 3:25-cv-01892-PHK            Document 1        Filed 02/21/25      Page 17 of 24



                                   1                                   CLASS ACTION ALLEGATIONS

                                   2          58.     Plaintiff brings this action as a class action pursuant to Rules 23(a) and 23(b)(1)-(3)

                                   3   of the Federal Rules of Civil Procedure, on behalf of himself, his business and a Nationwide Class

                                   4   defined as:

                                   5          All persons in the United States who had ongoing active WPE WordPress Web
                                              Hosting Plans on or before September 24, 2024 through December 10, 2024.
                                   6          59.     Excluded from the Nationwide Class are governmental entities, Defendants, any
                                   7   entity in which Defendants have a controlling interest, and Defendants’ officers, directors, affiliates,
                                   8   legal representatives, employees, coconspirators, successors, subsidiaries, and assigns. Also
                                   9   excluded from the Nationwide Class are any judges, justices, or judicial officers presiding over this
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                                  10
                                       matter and the members of their immediate families and judicial staff.
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                                  11
                                              60.     This action is brought and may be properly maintained as a class action pursuant to
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                                  12
                                       Rule 23. This action satisfies the requirements of Rule 23, including numerosity, commonality,
                                  13
                                       typicality, adequacy, predominance, and superiority.
                                  14
                                              61.     Numerosity. The Nationwide Class is so numerous that the individual joinder of all
                                  15
                                       members is impracticable. While the exact number of Nationwide Class Members is currently
                                  16
                                       unknown and can only be ascertained through appropriate discovery, Plaintiff, on information and
                                  17
                                       belief, alleges that the Nationwide Class includes at least hundreds of thousands of WPE customers
                                  18
                                       including the hundreds of thousands of websites identified by Defendants on their “WP Engine
                                  19
                                       Tracker” website https://wordpressenginetracker.com.
                                  20          62.     Commonality. Common legal and factual questions exist that predominate over any
                                  21   questions affecting only individual Class Members. These common questions, which do not vary
                                  22   among Class Members and which may be determined without reference to any Class Member’s
                                  23   individual circumstances, include, but are not limited to:
                                  24                  a. Whether Defendants had implied contracts with Plaintiff and the putative class;
                                  25                  b. Whether Defendants had a duty to keep WordPress “free for everyone”;
                                  26                  c. Whether Defendants intended to interfere in the relationship between WPE and
                                  27                      Plaintiff and the putative Class;
                                  28
                                       Class Action Complaint                                                                             17
                                        Case 3:25-cv-01892-PHK            Document 1           Filed 02/21/25   Page 18 of 24



                                   1                   d. Whether Defendants actually interfered in the relationship between WPE and

                                   2                       Plaintiff and the putative Class;

                                   3                   e. Whether Defendants engaged in independently wrongful conduct.

                                   4                   f. Whether Defendants’ actions constitute unfair competition.

                                   5                   g. Whether Plaintiff and Class Members were harmed.

                                   6                   h. Whether Plaintiff and Class Members are entitled to actual, statutory, or other

                                   7                       forms of damages and other monetary relief; and,

                                   8                   i. Whether Plaintiff and Class Members are entitled to equitable relief, including

                                   9                       injunctive relief or restitution.
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                                  10           63.     Typicality. Plaintiff’s claims are typical of other Class Members’ claims because
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                                  11   Plaintiff and Class Members were subjected to the same allegedly unlawful conduct and damaged
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                                  12   in the same way through having their contracts with WPE disrupted and therefore overpaying on

                                  13   their contracts with WPE due to Defendants’ actions to limit WPE’s access to the WordPress

                                  14   ecosystem, including regular updates, tools, Plugins, and other software, which meant that WPE

                                  15   could not perform for Plaintiff or the Class the services contracted for.

                                  16           64.     Adequacy of Representation. Plaintiff is an adequate class representative because

                                  17   he is a Class Member, and his interests do not conflict with the Class interests. Plaintiff retained

                                  18   counsel who are competent and experienced in class action litigation. Plaintiff and his counsel

                                  19   intend to prosecute this action vigorously for the Class’s benefit and will fairly and adequately

                                  20   protect their interests.

                                  21           65.     Predominance and Superiority. The Class can be properly maintained because the

                                  22   above common questions of law and fact predominate over any questions affecting individual Class

                                  23   Members. A class action is also superior to other available methods for the fair and efficient

                                  24   adjudication of this litigation because individual litigation of each Class member’s claim is

                                  25   impracticable. Even if each Class member could afford individual litigation, the court system could

                                  26   not. It would be unduly burdensome if thousands of individual cases proceed. Individual litigation

                                  27   also presents the potential for inconsistent or contradictory judgments, the prospect of a race to the

                                  28
                                       Class Action Complaint                                                                           18
                                        Case 3:25-cv-01892-PHK             Document 1      Filed 02/21/25     Page 19 of 24



                                   1   courthouse, and the risk of an inequitable allocation of recovery among those with equally

                                   2   meritorious claims. Individual litigation would increase the expense and delay to all parties and the

                                   3   courts because it requires individual resolution of common legal and factual questions. By contrast,

                                   4   the class-action device presents far fewer management difficulties and provides the benefit of a

                                   5   single adjudication, economies of scale, and comprehensive supervision by a single court.

                                   6           66.     Declaratory and Injunctive Relief. The prosecution of separate actions by

                                   7   individual Class Members would create a risk of inconsistent or varying adjudications with respect

                                   8   to individual Class Members that would establish incompatible standards of conduct for

                                   9   Defendants. Such individual actions would create a risk of adjudications that would be dispositive
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                                  10   of the interests of other Class Members and impair their interests. Defendants have acted and/or
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                                  11   refused to act on grounds generally applicable to the Class, making final injunctive relief or
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                                  12   corresponding declaratory relief appropriate.

                                  13                                          CLAIMS FOR RELIEF

                                  14                                                  Count One
                                                                 Intentional Interference with Contractual Relations
                                  15                                     On behalf of Plaintiff and the Class
                                  16           67.     Plaintiff incorporates by reference and realleges each allegation above as though

                                  17   fully set forth herein.

                                  18           68.     At all relevant times (at or before September 20, 2024), there were valid contracts

                                  19   between Plaintiff and Class Members and the third party WPE.

                                  20           69.     At all relevant times, Defendants knew that class members maintained valid

                                  21   contracts with the third party WPE.

                                  22           70.     As alleged herein, Defendants deliberately acted with the intent to disrupt those

                                  23   contracts through cutting off WPE’s access to the WordPress’s technology, software, Plugins, and

                                  24   other tools thereby ensuring that WPE could not fully fulfill its contractual obligations to the

                                  25   Plaintiff and Class Members for website hosting and related services, or if WPE could find a

                                  26   workaround to block of access to WordPress’s technology, software, Plugins, and other tools to

                                  27

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                                       Class Action Complaint                                                                          19
                                        Case 3:25-cv-01892-PHK            Document 1       Filed 02/21/25      Page 20 of 24



                                   1   fulfill its obligations, it made performance of WPE’s contracts with its customers more expensive

                                   2   and difficult.

                                   3           71.      As a result, Defendants’ conduct has prevented and may prevent full performance of

                                   4   the contracts in the future depending on the outcome of WPE’s case against Defendants.

                                   5   Defendants’ conduct meant that WPE could not install or update Plugins or themes, had limited

                                   6   access to software updates, editing tools, and access control to the WordPress central repository,

                                   7   which meant WPE could not perform necessary contractual functions that Plaintiff and the Class

                                   8   paid WPE to perform. Further, Plaintiff and the Class experienced significant service interruptions

                                   9   and their contracts with WPE guaranteed certain levels of service, which WPE was unable to fulfill
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                                  10   due to Defendants’ conduct. As a result of Defendant’s conduct, Plaintiff and the Class did not
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                                  11   receive the benefit of their bargain with WPE.
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                                  12           72.      Plaintiff and Class Members have been and will be harmed, and Defendants know

                                  13   of this harm (including because Defendants, including Mullenweg, acknowledged the harm in

                                  14   interviews and have made public statements concerning the harm) and were a substantial factor in

                                  15   its cause.

                                  16
                                                                                  Count Two
                                  17                     Intentional Interference with Prospective Economic Relations
                                                                      On behalf of Plaintiff and the Class
                                  18

                                  19           73.      Plaintiff repeats and realleges each and every fact, matter, and allegation set forth
                                  20   above and incorporates them by reference as though set forth in full.
                                  21           74.      As alleged herein, Defendants have intentionally interfered with prospective
                                  22   economic relationships between current and former WPE customers (class members) and WPE.
                                  23   Class members, such as Plaintiff, must seriously consider not renewing contracts with WPE,
                                  24   allowing the contracts to lapse, terminating the contracts, or not expanding contracts with WPE as
                                  25   a result of Defendants’ interference.
                                  26           75.      Plaintiff and Class Members and WPE would have likely maintained or expanded
                                  27   relationships to the benefit of class members under the prospective relationship.
                                  28
                                       Class Action Complaint                                                                           20
                                        Case 3:25-cv-01892-PHK              Document 1         Filed 02/21/25   Page 21 of 24



                                   1           76.     Defendants knew of these relationships and prospective relationships.

                                   2           77.     Defendants intended to disrupt those relationships and prospective relationships.

                                   3           78.     Defendants engaged in independently wrongful conduct in the course of interfering

                                   4   with those prospective relationships including violations of the UCL (Section 17200 California

                                   5   Business and Professions Code).

                                   6           79.     Defendants conduct has and will disrupt those prospective relationships. For

                                   7   example, but for the December 10 injunction, Plaintiff would have not renewed his contact with

                                   8   WPE.

                                   9           80.     Plaintiff and the Class have been and will be harmed.
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                                  10           81.     Defendant’s wrongful conduct has been and will be a substantial factor in the harm.
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                                  11           82.     As a direct and proximate result of the interference, Plaintiff and the Class are
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                                  12   entitled to relief as set forth herein.
                                                                              Count Three
                                  13           California Unfair Competition Law, CAL. BUS. & PROF. CODE §§ 17200, et seq.
                                  14                               On behalf of Plaintiff and the Class

                                  15           83.     Plaintiff, individually and on behalf of the Class, incorporates by reference each of
                                  16   the factual allegations contained in the preceding paragraphs as if fully set forth herein.
                                  17           84.     Plaintiff pleads this claim for equitable relief, including restitution and injunctive
                                  18   relief, in the alternative to his claims for damages.
                                  19           85.     Defendants violated California’s Unfair Competition Law (the “UCL”), CAL. BUS. &
                                  20   PROF. CODE §§ 17200 et seq., by engaging in unlawful, unfair, or fraudulent business acts and
                                  21   practices that constitute acts of “unfair competition” as defined in the UCL with respect to their
                                  22   conduct and actions with towards Plaintiff and the class.
                                  23           86.     Defendants’ actions as alleged herein in this Class Action Complaint constitute an
                                  24   “unlawful” practice as encompassed by CAL. BUS. & PROF. CODE §§ 17200 et seq. because
                                  25   Defendants’ intentional disruption of services they promised to keep free and available to everyone
                                  26   in perpetuity in order to either extort (as claimed by WPE) or ruin a competitor constitute unlawful
                                  27   business practices such as monopolistic practices. Defendants deliberately wielded their power over
                                  28
                                       Class Action Complaint                                                                              21
                                        Case 3:25-cv-01892-PHK           Document 1       Filed 02/21/25      Page 22 of 24



                                   1   the WordPress.org website like a cudgel, not only blocking access to the website but stealing

                                   2   resources like the ACF plugin, forcing visitors to click a checkbox asserting they are not associated

                                   3   with WPE, publishing WPE customer website addresses in an attempt to pressure customers to leave

                                   4   WPE, and repeatedly threatening future consequences including the risk of additional service

                                   5   disruptions for class members who did not leave WPE.

                                   6          87.     Defendant’s tortious interference, as alleged herein in this class action complaint,

                                   7   including intentionally disrupting a competitor’s service in order to degrade and undermine the

                                   8   services Plaintiff and the class received, constitutes an unfair unlawful practice under CAL. BUS. &

                                   9   PROF. CODE §§ 17200.
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                                  10          88.     Defendants’ actions as alleged in this Class Action Complaint also constitute an
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                                  11   “unfair” practice as encompassed by CAL. BUS. & PROF. CODE §§ 17200 et seq., because they offend
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                                  12   established public policy and are immoral, unethical, oppressive, unscrupulous, and substantially

                                  13   injurious. The harm caused by Defendants’ wrongful conduct outweighs any utility of such conduct

                                  14   and has caused—and will continue to cause—substantial injury to the Class, including Plaintiff

                                  15   Keller. In particular, Defendants abuse of the open-source internet architecture and apparent singular

                                  16   control over what they claim to be more than 40% of all websites in the world through a single

                                  17   individual (Matt Mullenweg)’s personal website (WordPress.org), is an appalling deception and is

                                  18   contrary to every conceivable public policy.

                                  19          89.     Moreover, public policy cannot support Defendants’ actions. A trademark dispute,

                                  20   even if legitimate, is not cause for the deliberate sabotage of the websites of innocent third-party

                                  21   individuals and companies who merely used WPE services. Defendant’s patterns of unscrupulous

                                  22   behavior deliberately targeted at WPE indeed demonstrates that these trademark claims are a mere

                                  23   pretext for its unlawful and injurious conduct.

                                  24          90.     As a result of Defendants’ unlawful and unfair conduct, Plaintiff and the Class were

                                  25   damaged and injured by the significant costs of remedying Defendants’ disruption of their websites.

                                  26          91.     Defendants’ wrongful practices constitute a continuing course of unfair competition

                                  27   because Defendants continued and indeed enhanced their efforts to interfere with the relationships

                                  28
                                       Class Action Complaint                                                                          22
                                        Case 3:25-cv-01892-PHK           Document 1       Filed 02/21/25      Page 23 of 24



                                   1   between Class Members and WPE up until the December 10, 2024 preliminary injunction. In the

                                   2   absence of a permanent injunction, on information and belief, Defendants will resume attempting to

                                   3   disrupt WPE services and will further harm class members. Indeed, in the absence of a permanent

                                   4   injunction, Plaintiff will have no option but to terminate his relationship with WPE because of the

                                   5   danger Defendants’ unlawful and unfair business practices pose to his livelihood.

                                   6          92.      Plaintiff and the class seek equitable relief pursuant to Cal. Bus. & Prof. Code §

                                   7   17203 to end Defendants’ wrongful practices including requiring Defendants to cease its tortious

                                   8   interference with contract.

                                   9          93.     Plaintiff and the class also seek an order requiring Defendants to make full restitution
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                                  10   of all monies it received through its wrongful conduct, along with all other relief permitted under
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                                  11   Cal. Bus. & Prof. Code §§ 17200 et seq.
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                                  12                                        PRAYER FOR RELIEF

                                  13          WHEREFORE, Plaintiff, on behalf of themselves and the Class set forth herein, respectfully

                                  14   request the following relief:

                                  15          A.      That the Court certify this action as a class action and appoint Plaintiff and

                                  16                  their counsel to represent the Class;

                                  17          B.      That the Court grant permanent injunctive relief to prohibit Defendants from

                                  18                  continuing to engage in the unlawful acts, omissions, and practices described

                                  19                  herein and directing Defendants cease interference in the contractual

                                  20                  relationship between WPE and the class;

                                  21          C.      That the Court award compensatory, consequential, and general damages,

                                  22                  including nominal damages as appropriate, as allowed by law in an amount to

                                  23                  be determined at trial;

                                  24          D.      That the Court award statutory or punitive damages as allowed by law in an

                                  25                  amount to be determined at trial;

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                                       Class Action Complaint                                                                           23
                                        Case 3:25-cv-01892-PHK           Document 1       Filed 02/21/25        Page 24 of 24



                                   1          E.     That the Court order disgorgement and restitution of all earnings, profits,

                                   2                 compensation, and benefits received by Defendants as a result of Defendants’

                                   3                 unlawful acts, omissions, and practices;

                                   4          F.     That the Court award to Plaintiff and Class Members the costs and

                                   5                 disbursements of the action, along with reasonable attorneys’ fees, costs, and

                                   6                 expenses; and

                                   7          G.     That the Court award pre- and post-judgment interest at the maximum legal

                                   8                 rate and all such other relief as it deems just and proper.

                                   9                                    DEMAND FOR JURY TRIAL
SCHUBERT JONCKHEER & KOLBE LLP




                                  10          Plaintiff hereby demands a jury trial on all claims so triable.
   2001 Union Street, Suite 200
    San Francisco, CA 94123




                                  11
         (415) 788-4220




                                  12   Dated: February 21, 2024                      /s/ Amber L. Schubert

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                                       Class Action Complaint                                                                         24
